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              In the United States Court of Federal Claims
                                           No. 16-840C
                                     (Filed August 23, 2018)

*****************************************
                                                       *
BITMANAGEMENT SOFTWARE GMBH,                           *
                                                       *
                       Plaintiffs,                     *
                                                       *
       v.                                              *
                                                       *
THE UNITED STATES,                                     *
                                                       *
                       Defendant.                      *
                                                       *
*****************************************


                               TRIAL PREPARATION ORDER
                                  (Revised: August 6, 2018)

1.     Definition of Terms

       a.       Serve means to provide to all counsel, but not to file with the Court.
       b.       File means to serve on all counsel and to file with the Court.
       c.       Provide to chambers means to submit to chambers by fax (202/357-6490), by
                email in Adobe PDF (damich_chambers@ao.uscourts.gov), or by postal or private
                delivery.

2.     Trial Preparation

       a.       Events before the meeting of counsel 1

                i.     Plaintiff’s Case in Chief

                       (1)    Plaintiff shall serve its Proposed Findings of Fact and Law (see
                              Appendix A ¶14 on or before September 28, 2018.

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          The exchange of information before the meeting of counsel, especially the exchange of
objections, should facilitate resolving issues at the meeting of counsel without Court
involvement. Counsel, therefore, should act in good faith to list all witnesses, exhibits, and
objections in these preliminary exchanges. Although counsel will eventually file final lists with
the court, the opportunity for another filing should not be used as a method for circumventing the
requirement of providing preliminary information.


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               (a)    The Proposed Findings of Fact shall be organized
                      by headings that correlate to the legal arguments on
                      which Plaintiff relies to support its claims.

               (b)    The Proposed Findings of Fact shall be sequentially
                      numbered.

               (c)    For each Proposed Finding of Fact, Plaintiff shall
                      identify the exhibits and/or witnesses that support
                      that fact.

               (d)    Facts that support more than one legal contention do
                      not have to be repeated completely; they may be
                      identified by number for successive legal
                      arguments.

         (2)   Plaintiff shall serve its witness list (which should include
               the witnesses who will be called in rebuttal, to the extent
               that they are known) on the same date as it serves its
               Proposed Findings of Fact.

               (a)    The witness list shall specify those witnesses
                      identified as supporting facts in Plaintiff’s
                      Proposed Findings of Fact.

               (b)    For each witness, Plaintiff shall indicate the specific
                      topics to be addressed in the expected testimony by
                      identifying the facts (by fact number) that the
                      witness will establish.

               (c)    For each witness, Plaintiff shall indicate the time
                      needed for direct examination.

         (3)   Plaintiff shall serve its list of exhibits, and a set of such
               exhibits, on the same date as it serves its Proposed Findings
               of Fact.

               (a)    The exhibit list shall include all the exhibits
                      identified as supporting facts in Plaintiff’s
                      Proposed Findings of Fact.

               (b)    For each exhibit, Plaintiff shall indicate the specific
                      facts (by fact number) that the exhibit will establish.

               (c)    Demonstrative exhibits (including audio-visual
                      exhibits) shall be included and described on the list
                      of exhibits.

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    ii.   Defendant’s Case in Chief

          (1)    Defendant shall serve its Response to the Plaintiff’s
                 Proposed Findings of Fact on or before November 9, 2018.

                 (a)    For each fact alleged by Plaintiff, Defendant shall
                        underline the parts, or parts, that it disputes and, on
                        the same page below the fact in dispute, modify the
                        statement to make it conform to Defendant’s
                        version of the facts.

                 (b)    Defendant shall identify the exhibits and/or
                        witnesses that support its modification.

                 (c)    Defendant shall underline, entirely, any statement
                        that cannot be made to conform to Defendant’s
                        version of facts.

                 (d)    Defendant shall identify the exhibits and/or
                        witnesses that support its position.

          (2)    Defendant may also serve Proposed Additional Findings of
                 Fact. Such Proposed Additional Findings of Fact shall be
                 served as a separate document on the same date that
                 Defendant serves its Response to Plaintiff’s Proposed
                 Findings of Fact.

                 (a)    Defendant shall follow the same form as Plaintiff.
                        See paragraph 2.a.i.(1).

          (3)    Defendant shall serve its witness list on the same date that
                 it serves its Response to Plaintiff’s Proposed Findings of
                 Fact.

                 (a)    Defendant shall follow the same form as Plaintiff.
                        See paragraph 2.a.i.(2).

          (4)    Defendant shall serve its list of exhibits, and a set of such
                 exhibits, on the same date as it serves its Response to
                 Plaintiff’s Proposed Findings of Fact.

                 (a)    Defendant shall follow the same form as Plaintiff.
                        See paragraph 2.a.i.(3).




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         iii.   Plaintiff’s Case in Rebuttal

                (1)    On or before November 30, 2018, Plaintiff may serve a
                       Response to Defendant’s Proposed Additional Findings of
                       Fact.

                       (a)     Plaintiff shall follow the same form as Defendant.
                               See paragraph 2.a.ii.(1).

                (2)    Plaintiff shall serve its list of rebuttal witnesses, and an
                       explanation of its need for such witnesses, on the same date
                       for serving its Response to Defendant’s Proposed
                       Additional Findings of Fact.

                (3)    Plaintiff shall serve its list of rebuttal exhibits, an
                       explanation of its need for such exhibits, and a set of such
                       exhibits, on the same date for serving its Response to
                       Defendant’s Proposed Additional Findings of Fact.

b.       Meeting of Counsel

         i.     The meeting of counsel shall be held on or before February 20,
                2019 (no later than 63 days before the pretrial conference; see
                Appendix A ¶ 13).

         ii.    Counsel shall follow the requirements set forth in Appendix A ¶13,
                to the extent not otherwise addressed in this Order.

         iii.   At the meeting, counsel shall also discuss the sequestration of
                witnesses under Fed. R. Evid. 615, including such questions as:

                (1)    Should witnesses who have testified be permitted to discuss
                       their testimony with witnesses who have not yet testified;

                (2)    Should an attorney be permitted to relate, in any form, the
                       substance of previous testimony to witnesses who have not
                       yet testified; and

                (3)    Should an attorney be permitted to counsel a witness during
                       breaks in the witness’s testimony? See Perry v. Leeke, 488
                       U.S. 272, 280 (1989); Reynolds v. Ala. Dep’t of Transp., 4
                       F. Supp. 2d 1055, 1064-65 (M.D. Ala. 1988) (applying
                       Perry to civil case).

c.       Filings After Meeting of Counsel

         i.     No later than one week following the meeting of counsel, February
                27, 2019, counsel shall file the following:

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          (1) A Joint Statement of Good Faith Conduct, stating that all
              objections to witnesses and exhibits were discussed in good
              faith and that settlement was explored at the meeting of counsel
              (this Joint Statement shall be filed as a “Notice” under
              Electronic Case Filing (ECF) and linked to this Pre-Trial
              Order).

          (2) A Joint Notice of Proposed Procedures for Sequestration, if
              sequestration is requested by either party. If the parties have
              not been able to agree on such procedures, they shall separately
              file memoranda on sequestration by this date (this Joint Notice
              shall be filed as a “Notice” under ECF and linked to this Pre-
              Trial Order).

          (3) Any motions, pursuant to Appendix A ¶ 15(b), for leave to
              present substantive evidence by way of deposition testimony.
              Such motions shall list the pages of such transcripts but shall
              not include copies of the listed pages.

          (4) Any objections, including motions in limine, to the opposing
              party’s proposed witnesses or exhibits. For each objection, the
              objecting party shall identify the witness or exhibit as proposed
              and the grounds for the objection. Responses to motions in
              limine shall be filed within 7 days and the replies not more than
              5 days thereafter.

    ii.   No later than two weeks following the meeting of counsel, March
          6, 2019, counsel shall file the following:

          (1)    File any objections, including the grounds therefor, to the
                 opposing party’s motions regarding deposition testimony
                 and any proposed cross-designation of transcript pages. In
                 cross-designating, the party may not simply designate the
                 entire transcript.

          (2)    File a Joint Stipulation of Facts, Witnesses, and Exhibits as
                 follows:

                 a. a statement of the facts on which the parties agree,
                    separately numbered and based on the parties’ Proposed
                    Findings of Fact;

                 b. a listing of all witnesses to which neither party objects,
                    with a brief description of each such witness; and

                 c. a descriptive listing of all exhibits to which neither
                    party objects on the grounds of authenticity or

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                                   admissibility (two sets of such exhibits, by CD-Rom,
                                   shall concurrently be provided to chambers).

                     (3)     File each party’s Proposed Findings of Fact, other than
                             jointly stipulated facts, separately numbered with
                             underlining designating the portion in dispute, in the same
                             format as prescribed in paragraph 2.a.i.(1).

                     (4)     Provide to chambers each party’s Final Witness List,
                             including a brief description of each witness and denoting
                             stipulated witnesses, in the same format as prescribed in
                             paragraph 2.a.i.(2).

                     (5)     Provide to chambers two copies of each party’s Final
                             Exhibit List on CD-Rom, excluding joint exhibits, in the
                             same format as prescribed in paragraph 2.a.i.(3).

              iii.   Memorandum of Fact and Law

                     (1)     No later than three weeks after the meeting of counsel, March 13,
                             2019, Plaintiff shall file a Memorandum of Fact and Law.

                             (a)      The Memorandum of Fact and Law shall set forth
                                      Plaintiff’s conclusions of law with a complete exposition
                                      of the legal theory that supports each legal claim.

                             (b)      Based upon its Proposed Findings of Fact, Plaintiff shall
                                      explain the factual basis upon which it relies to support its
                                      claims. With respect to all facts, Plaintiff shall reference
                                      its Proposed Findings of Fact, by number.

                             (c)      Absent good cause, the memorandum shall not exceed 30
                                      pages.

                     (2)     No later than four weeks after the meeting of counsel, March 20,
                             2019, Defendant shall file a Responsive Memorandum of Fact and
                             Law in the same format as Plaintiff’s Memorandum.

3.   Miscellaneous

     a.       Matters of Style for Exhibits

              i.     Joint exhibits shall be prefaced with a J; Plaintiff’s with a P; and
                     Defendant’s with a D. There shall be no duplication of exhibits.

              ii.    Documentary exhibits shall be contained in binders and shall be numbered
                     and paginated (e.g., Plaintiff’s Exhibit 5, page 10 shall be marked
                     "P5.10"), with tabs demarcating each exhibit.

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         iii.   The exhibits shall be accompanied by a table of contents listing and
                describing all exhibits in numerical order. Demonstrative exhibits shall
                also be assigned numbers, and described in the table of contents.

         iv.    All officially admitted exhibits shall be submitted to the court reporter at
                trial at the time they are admitted for incorporation into the trial record (it
                may be appropriate to move the admission of joint exhibits at the onset of
                trial). A copy of each such exhibit shall concurrently be submitted to the
                judge’s law clerk.

         v.     In the unusual circumstance of any exhibits admitted at trial that were not
                previously listed and provided to chambers, the offering party shall submit
                such exhibit along with three copies (one each for the judge, the law clerk,
                and opposing counsel; the original of the exhibit shall be submitted to the
                court reporter).

         vi.    Ordinarily, exhibits will not be admitted into the record unless needed to
                support the testimony of a witness.


b.       Objections

         i.     Each objection shall provide the appropriate Federal Rule of Evidence
                number(s) and provide a short, narrative explanation of the basis for the
                objection. Informative cases may be cited in support of the objection.

         ii.    Motions in limine shall be utilized to present significant objections,
                including objections to the testimony and/or qualifications of expert
                witnesses.

         iii.   Objections to witnesses and exhibits shall be submitted in the time set
                forth in this order. Objections not so raised may be deemed waived.
                Motions in limine regarding other matters shall be filed by March 6, 2019.
                Responses shall be filed within 7 days. Replies filed within 5 days.

c.       Matters of Style for Amendment of Filings

         i.     Whenever a party submits an amended or revised filing, the party shall
                indicate in the caption how many previous amendments have been filed
                (e.g., Third Amended Witness List).

         ii.    Although this order sets out the style for captioning amended filings, the
                parties should not infer that leave is necessarily granted for amended
                filings. Appropriate objections will be entertained.

d.       Stipulations


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              i.     In General

                     (1)    The parties are expected and required to stipulate to the full extent
                            to which complete or qualified agreement can or fairly should be
                            reached regarding all matters not privileged which are relevant to
                            the pending case, regardless of whether such matters involve fact
                            or opinion or the application of law to fact. Included should be all
                            facts, all documents and papers or contents or aspects thereof, and
                            all evidence which fairly should not be in dispute.

                     (2)    When the truth or authenticity of facts or evidence claimed to be
                            relevant by one party is not disputed, an objection on the ground of
                            materiality or relevance may be noted by any other party but is not
                            to be regarded as just cause for refusal to stipulate.

                     (3)    The requirement of stipulation applies without regard to where the
                            burden of proof may lie with respect to the matters involved.

              ii.    Binding Effect

                     (1)    A stipulation shall be treated, to the extent of its terms, as a
                            conclusive admission by the parties to the stipulation, unless
                            otherwise permitted by the court or agreed upon by the parties.

                     (2)    The court will not permit a party to a stipulation to qualify, to
                            change, or to contradict a stipulation, in whole or in part, except
                            where justice so requires.

                     (3)    A stipulation and the admissions therein shall be binding and have
                            effect only in the pending case and not for any other purpose, and
                            cannot be used against any of the parties thereto in any other case
                            or proceeding.

     e.       Trial Methods. The Court is committed to cost-effective methods of resolving
              and trying cases. The parties should consider whether direct testimony submitted
              in written form may be preferable. Under this procedure, parties submit their
              witnesses’ affirmative testimony in writing in advance. The witnesses are then
              subject to cross-examination before the court in open court.

4.   Pre-trial conference. The pretrial conference will be held by telephone on Monday,
     April 8, 2019, at 11 a.m.

5.   Trial dates and location. Trial shall commence on Monday, April 22, 2019, and shall
     continue for 8 days, or such time as agreed to at the pretrial conference, from 10:00
     a.m. to 4:00 p.m. each day. Five days of the trial will be held in Washington, D.C.,
     from April 22-26, 2019. Trial be held in Los Angeles, CA on April 29-30, 2019.



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6.   Ambiguity or confusion in this order. The parties should work together to resolve any
     ambiguities or uncertainties that they perceive in this order. The Court encourages the
     parties to raise any issues as soon as possible after a good faith attempt to resolve them.
     Even if the parties are able to resolve the issues, the Court would appreciate hearing the
     concerns of the parties so that the order can be clarified.

IT IS SO ORDERED.

                                                   s/ Edward J. Damich
                                                   EDWARD J. DAMICH
                                                   Senior Judge




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